                Case
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MANDATE                                                                        S.D.N.Y.-N.Y.C.



                                                                       USDC SDNY
                                                                                     15-cr-867
                                                                                    Berman, J.


                            United States Court of Appeals             DOCUMENT
                                                  FOR THE
                                                                       ELECTRONICALLY FILED
                                             SECOND CIRCUIT            DOC #:   _________________
                                             _________________         DATE FILED: ______________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 23rd day of December, two thousand twenty.

     Present:
                   Raymond J. Lohier, Jr.,
                   Susan L. Carney,
                   William J. Nardini,
                                      Circuit Judges.

     In Re: Turkiye Halk Bankasi, A.S.,

                                   Petitioner.



     Turkiye Halk Bankasi, A.S.,

                                   Petitioner,

                   v.                                                20-3008

     United States of America,

                                   Respondent.


     United States of America,

                                   Appellee,

                   v.                                                20-3499

     Reza Zarrab, AKA Riza Sarraf, et al.,




MANDATE ISSUED ON 02/16/2021
            Case
         Case     20-3008, Document
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                               Defendants,

Turkiye Halk Bankasi, A.S., AKA Halkbank,

                               Defendant-Appellant.


The above proceedings are CONSOLIDATED for the purposes of this order.

In the proceeding docketed under 20-3008, Petitioner seeks a writ of mandamus and Respondent
moves for leave to file an oversized brief. Upon due consideration, it is hereby ORDERED that
the Respondent’s motion is GRANTED and the mandamus petition is DENIED because Petitioner
has not demonstrated that its right to the writ is clear and indisputable, or that granting the writ is
appropriate under the circumstances. See Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380–
81 (2004).

In the appeal docketed under 20-3499, Appellant moves to stay the district court proceedings and
Appellee moves to dismiss the appeal or, alternatively, to expedite the appeal. Upon due
consideration, it is hereby ORDERED that decision on the Appellee’s motion to dismiss is
DEFERRED. The motion is referred to the panel that will hear the merits of the appeal.

It is further ORDERED that Appellant’s motion for a stay is GRANTED, see U.S. Sec. & Exch.
Comm’n v. Citigroup Glob. Mkts. Inc., 673 F.3d 158, 162 (2d Cir. 2012), and that, pursuant to
Federal Rule of Appellate Procedure 2, this appeal shall be heard on an expedited basis. The clerk
of the court is accordingly directed to set an expedited schedule.

                                               FOR THE COURT:
                                               Catherine O’Hagan Wolfe, Clerk of Court




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